          Case 3:11-cr-03486-JAH                        Document 1098                Filed 12/10/15             PageID.4280               Page 1 of
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    'I1:oAO 245B (CASD) (Rev. 4/14)   Judgment in a Criminal Case
               Sheet I




                                                UNITED STATES DISTRICT COURT
                                                    SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                       AMENDED JUDGMENT IN A CRIMINAL <ft~
                                          v.                                        (For Offenses Committed On or After N~~erriber 1, 1(87)                f'
                               Karl Lowman -10                                      Case Number: l1-cr-03486-JAH-IO
                                                                                    Jennifer L Coon
                                                                                    Defendant's Attorney
    REGISTRATION NO. 28141298
    o
    THE DEFENDANT:
    181 pleaded guilty to count(s) _O_n_e_o_f_t_h_e_In_d_ic_tm_e_n_t._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    o     was found guilty on count(s)' _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                            Nature of Offense                                                                           Numberis)
18:371                                    Conspiracy to Commit Wire Fraud                                                                   1




        The defendant is sentenced as provided in pages 2 through _ _.. .;4_ _ o fthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not guilty on count(s)
 181 Count(s)_r_em_a_i_ni_ng:::'.-_ _ _ _ _ _ _ _ _ _----------------------------------------------
                                                     _ _ _ _ _ _ _ is 181 areD dismissed on the motion of the United States.
 181 Assessment: $100.00

 181 No fine                                          o    Forfeiture pursuant to order filed
                                                                                                  ---------------              , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change ofname, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               November 16,2015




                                                                                                                                          11-cr-03486-JAH-IO
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AO 2458 (CASD) (Rev.4114) Judgment in a Cnminal Case
             Sheet 2 -- Probation
                                                                                                             Judgment--Page      2     of   _-'I4_ __
DEFENDANT: Karl Lowman -10                                                                            a
CASE NUMBER: ll-cr-03486-JAH-I0
                                                                  PROBATION
The defendant is hereby sentenced to probation for a term of:
 Five years.

The defendant shall not commit another federal, state, or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term ofsupervision, unless otherwise ordered by court.                                          -­

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
  future substance abuse. (Check, if applicable.)
       The defendant shall not possess a ftrearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          Ifthis judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                       STANDARD CONDITIONS OF SUPERVISION
  1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or ber dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
         substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
         officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
         criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
         the defendant's compliance with such notification requirement.



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         AO 2458 (CASD) (Rev. 4114) Judgment in a Criminal Case
                    Sheet 3 - Special Conditions
                                                                                                           Judgment-Page   -..:L.- of _ _4"--_ _
         DEFENDANT: Kari Lowman -) 0                                                                  o
         CASE NUMBER: ll-cr-03486-JAH-IO




                                               SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
      a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
      a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
      this condition.
o     If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
      officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o     Not transport, harbor, or assist undocumented aliens.
o     Not associate with undocumented aliens or alien smugglers.
o     Not reenter the United States illegally.
o     Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o     Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o     Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
      psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
      and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
      information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
      amount to be determined by the probation officer, based on the defendant's ability to pay.
o     Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
      officer, if directed.
181 Provide complete disclosure of personal and business financial records to the probation officer as requested.
o Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
      probation officer.
181 Obtain a General Education Diploma within the first 2 years of supervision.
o     Resolve all outstanding warrants within               days.
o     Complete             hours of community service in a program approved by the probation officer within
181   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of 30 days - punitive.

o     Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
      probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
      contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

181 Comply with the conditions of the Home Confinement Program for a period of 6 months and remain at your residence except for activities
      or employment as approved by the court or probation officer. Wear an electronic monitoring device (GPS passive), and follow procedures
      specified by the probation officer. Pay %25 ofthe total cost of electronic monitoring services.

      Notify the Collections Unit, United States Attorney's Office, of any interest in property obtained, directly or indirectly, including any interest
      obtained under any other name, or entity, including a trust, partnership or corporation until the fine or restitution is paid in full.
      Notify the Collections Unit, United States Attorney's Office, before transferring any interest in property owned, directly or indirectly,
      including any interest held or owned under any other name, or entity, including a trust, partnership or corporation.




                                                                                                                                   11-cr-03486-JAH-IO
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AO 245S     Judgment in Criminal Case
            Sheet 5 - Criminal Monetary Penalties

                                                                                                     Judgment- Page _ _4~_ of           4
 DEFENDANT: Karl Lowman                                                                       o
 CASE NUMBER: II-cr-03486-JAH-I 0

                                                           RESTITUTION

The defendant shall pay restitution in the amount of _ _ _ _$_1_69_,_00_0_ _ _ _ unto the United States of America.




          This sum shall be paid __ immediately.
                                  )( as follows:
           Pay restitution in the amount of $169,000 through the Clerk, U. S. District Court. Payment of restitution shall be
           forthwith. During any period of incarceration the defendant shall pay restitution through the Inmate Financial
           Responsibility Program at the rate of 50% of the defendant's income, or $25.00 per quarter, whichever is greater. The
           defendant shall pay the restitution during his supervised release at the rate of$250 per month. These payment schedules
           do not foreclose the United States from exercising all legal actions, remedies, and process available to it to collect the
           restitution judgment.

           Defendant shall be jointly and severally liable to pay restitution with co-defendants/co-conspirators for the same losses.
           The presently known co-defendantlco-conspirators are Tyler Lowman and Lisa Walker..

           Until restitution has been paid, the defendant shall notifY the Clerk of the Court and the United States Attorney's Office
           of any change in the defendant's mailing or residence address, no later than thirty (30) days after the change occurs.




      The Court has determined that the defendant        does not    have the ability to pay interest. It is ordered that:
     K       The interest requirement is waived.

             The interest is modified as follows:




                                                                                                    11-cr-03486-JAH-10
